                                Case 3:96-cr-30054-MAP Document 119 Filed 04/22/98 Page 1 of 6
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        NJ 2458 (Rev. 3195) Sheel1 - Judgment in a Criminal Case
-...:



                                              Ilnfteb 6tates 1Bfstrftt QCourt 

                                                                   District of Massachusetts
                          UNITED STATES OF AMERICA 	                                   JUDGMENT IN A CRIMINAL CASE
                                                v. 	                                   (For Offenses Committed On or After November 1, 1987)
                              KRISTEN GILBERT 	                                        Case Number: 3:96CR30054-001
                                                                                       HARRY MILES, ESQ.
        THE DEFENDANT:                                                                 Defendant's AIIomay


         D 	pleaded guilty to count(s)
         D 	pleaded nolo contendere to count(s) _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
            which was accepted by the court.
         ~     w§~undg~~oncou~OO
                	                                       ~1~_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _~
               after a plea of not gui~.
                                                                                                                            Date Offense        Count
        Title & Section                                        Nature of Offense                                             Concluded        Number(s)

         18 U.S.C. § 844 (e)                                   MAKING A BOMB THREAT BY                                        09/26/1996            1
                                                               TELEPHONE




             The defendant is sentenced as provided in pages 2 through                   ~ of this judgment.                The sentence is imposed pursuant
        to the Sentencing Reform Act of 1984.

        D     The defendant has been found not gui~ on count(s) _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

        D     Count(s) 	                                                       (1S)(are) dismissed on the motion of the United States.

             IT IS FURTHER ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of
        any change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this
        judgment are fully paid.
        Defendant's Soc. Sec. No.:                      	                                04/20/1998
                                                                                         ~==~=------------------
        Defendant's Date of Birth:       --            7_ _ _ _ _ _ _ __                 DIm! 01 Imposition 01 Judgment

        Defendant's USM No.:             -'"'-90=3~7-".I-O--><=38=----_ _ _ _ _ _ __
        Defendant's Residence Address:




                                     	                                                   MICHAEL A. PONSOR
                                                                                         U.S. DISTRICT JUDGE
                                                                                         Name & Title of Judicial OIficer
        Defendant's Maiiing Address:




                                     	
                        Case 3:96-cr-30054-MAP Document 119 Filed 04/22/98 Page 2 of 6
AO ,2458 (Rev. 3195) Sheet 2 -lmpri800ment

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 DEFENDANT:                  KRISTEN GILBERT
.CASE NUMBER:                3:96Cll3OO54-OO1

                                                            IMPRISONMENT
   The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for
a total term of   15 DlQDth(s)




[g]   The court makes the following recommendations to the Bureau of Prisons:
      THAT DEFENDANT BE PLACED IN BOP MENTAL HEALTH PROGRAM AND IF POSSIBLE LOCATED IN 

      MINIMUM OR LCJW SECURITY FACILITY AT FCI, DANBURY, CT 




[g]   The defendant is remanded to the custody of the United States Marshal.

D     The defendant shall surrender to the United States Marshal for this district:

       D     at                              a.m.lp.m. on
       D     as notified by the United States Marshal.

D     The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

       D     before 2 p.m. on
       D     as notified by the United States Marshal.
       D     as notified by the Probation or Pretrial Services Office.



                                                              RETURN
I have executed this judgment as follows:




   Defendant delivered on           ------------~
                                                                         to

at - - - - - - - - - - - - - - " with a certified copy of this judgment.


                                                                                                UNITED STATES MARSHAL


                                                                                      By
                                                                                                       Deputy u.s. Marshal
                       Case 3:96-cr-30054-MAP Document 119 Filed 04/22/98 Page 3 of 6
AO 2458 (Rev. 3/85) Sheet 3 - SupeMsed Release
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DEFENDANT:                  KRISTEN GILBERT
CASE NUMBER:                3:96CKJOO54-001

                                                 SUPERVISED RELEASE
     Upon release from imprisonment, the defendant shall be on supervised release for a term of       _---'3!!<..-_..,yea~r(...
                                                                                                                             I)'__




        The defendant shall report to the probation office in the district to which the defendant is released within 72 hours of
     release from the custody of the Bureau of Prisons.

     The defendant shall not commit another federal, state, or local crime.

     The defendant shall not illegally possess a controlled substance.

     For offenses committed on or after September 13, 1994:

            The defendant shall refrain from any unlawful use of a controlled substance. The defendant shall submit to one
        drug test within 15 days of release from imprisonment and at least two periodic drug tests thereafter, as directed by
        the probation officer ~-
         D     The above drug testing condition is suspended based on the court's determination that the defendant poses
               a low risk of Mure substance abuse. (Check, if applicable.)
~ The defendant shall not possess a firearm as defined in 18 U.S.C.       § 921. (Check, if applicable.)

          ·If this judgment imposes a fine or a restitution obligation, it shall be a condition of supervised release that the
      defendant pay any such fine or restitution that remains unpaid at the commencement of the term of supervised release
      in accordance with the Schedule of Payments set forth in the Criminal Monetary Penalties sheet of this judgment.

     The defendant shall comply with the standard conditions that have been adopted by this court (set forth below). The
  defendant shall also comply with the additional conditions on the attached page (If indicated below).


                                     STANDARD CONDITIONS OF SUPERVISION
1) the defendant shall not leave the judicial district without the permission of the court or probation officer;
2) the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first
    five days of each month;
3) the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation
    officer;
4) the defendant shall support his or her dependents and meet other family responsibilities;
5) the defendant shall work regularly at a lawful occupation unless excused by the probation officer for schooling, training, or
    other acceptable reasons;
6) the defendant shall notify t~e probation officer ten days prior to any change in residence or employment;
7) the defendant shall refrain from excessive use of alcohol;
8) the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
9) the defendant shall not associate with any persons engaged in criminal activity, and shall not associate with any person
    convicted of a felony unless granted permission to do so by the probation officer;
10) the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit
    confiscation of any contraband observed in plain view of the probation officer;
11) the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law
    enforcement officer;
12) the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency
    without the permission of the court;
13) as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the
    defendant's criminal record or persQnal history or characteristics, and shall permit the probation officer to make such
                                Case 3:96-cr-30054-MAP Document 119 Filed 04/22/98 Page 4 of 6
• ;;   A,O z,,~ (Rev. 3/95) Sheet 3 - Supervlsed Release



       DEFENDANT:                    KRISTEN GILBERT
       CASE NUMBER:                  3:96CR30054-001



                                                  SPECIAL CONDITIONS OF SUPERVISION


       MENTAL HEALTH PROGRAM AS DIRECTED BY PROBATION DEPARTMENT




                                                           Judgment-Sheet   3 01
                                Case 3:96-cr-30054-MAP Document 119 Filed 04/22/98 Page 5 of 6
    •   AO 2~ (Rev. 3195) Shoot 5, Part A· Criminal MonetaJy Penalties

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~       DEFENDANT:                   KRISTEN GILBERT
        •
        CASE NUMBER:                 3:96CR300S4-001
                                                       CRIMINAL MONETARY PENALTIES
             The defendant shall pay the following total criminal monetary penalties in accordance with the schedule of payments set
        forth on Sheet 5, Part B.                                                                                                 '
                                                      Assessment                                                Restitution
                   Totals:                               $                 100.00       $                     $


         D    If applicable, restitution amount ordered pursuant to plea agreement. . . . . . . . . . . . .   $ _ _ _ _ _ __




                                                                                   FINE
        The above fine includes costs of incarceration and/or supervision in the amount of $
            The defendantshall pay interest on any fine of more than $2,500, unless the fine is paid in full before the fifteenth day
        after the date of jUdgment, pursuant to 18 U.S.C. § 3612(1). All of the payment options on Sheet 5, Part B may be subject to
        penalties for default and delinquency pursuant to 18 U.S.C. § 3612(g).
        D     The court determined that the defendant does not have the ability to pay interest and it is ordered that:
                    The interest requirement is waived. 

                    The interest requirement is modified as follows: 





                                                                           RESTITUTION
              The determination of restitution is deferred in a case brought under Chapters 109~ 110, 11 OA and 113A of Title 18 for
              offenses committed on or after 09113/1994, until                 . An Amended Juugment in a Criminal Case
              will be entered after such determination.




        D     The defendant shall make restitution to the following payees in the amounts listed below.
            If the defendant makes a partial payment, each payee shall receive an approximately proportional payment unless
        specified otherwise in the priority order or percentage payment column below.                              Priority Order
                                                                                                                         or
                                                                               ** Total           Amount of        Percentage of
        Name of Payee                                                       Amount of Loss Restitution Ordered        Payment




                                                                         Totals:
                                                                                    $                    $---------­
          •• Findings for the total amount of losses are required under Chapters 109A, 110, 11 OA, and 113A of Title 18 for offenses
        committed on or after September 13, 1994.
                       Case 3:96-cr-30054-MAP Document 119 Filed 04/22/98 Page 6 of 6
 ':0 ~~ (Rev. :MIS) SIN 5, Part B - CrIminal Monetary PanaHIes
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                                          Judgment-Page ~ of -----'---­
 PEFENOANT:                KRISTEN GILBERT
 CASE NUMBER:              3:96CR30054-OO1
                                                 SCHEDULE OF PAYMENTS
    Payments shall be applied in the following order: (1) assessment; (2) restitution; (3) fine principal; (4) cost of prosecution;
 (5) interest; (6) penalties.

       Payment of the total fine and other criminal monetary penalties shall be due as follows:
  A    [;g] in full immediately; or
  B   0 	$ _ _ _ _ _ _ immediately, balance due On accordance with C, 0, or E); or
  C 0 	 not later than _ _ _ _ ;or

  o 	 0 in installments to commence               day(s) after the date of this judgment. In the event the entire amount of
         criminal monetary penalties imposed is not paid prior to the commencement of supervision, the U.S. probation
            officer shall pursue collection of the amount due, and shall request the court to establish a payment schedule if
            appropriate; or
  E	   0    in _ _ _ _ _ _ _ (e.g. equal. weekly. monthly. quarlerly) installments of $ _ _ _ __
            over a period of               year(s) to commence                day(s) after the date of this judgment.


      The National Fine Center will credit the defendant for all payments previously made toward any criminal nl0netary penalties imposed.
 Special instructions regarding the payment of criminal monetary penalties:




 o     The defendant shall pay-the cost of prosecution.




 o     The defend~nt shall forfeit the defendanfs interest in the following property to the United States:




     Unless the court has expressly ordered otherwise in the special instructions above, if this judgment imposes a period of
 imprisonment payment of criminal monetary penalties shall be due during the period of imprisonment. All criminal monetary
 penalty payments are to be made to the United States Courts National Fine Center, Administrative Office of the United States
 Courts, Washington, DC 20544, except those payments made through the Bureau of Prisons' Inmate Financial Responsibility
 Program. If the National Fine Center is not operating in this district, all criminal monetary penalty payments are to be made as
 directed by the court, the probation officer, or the United States attorney.
